Case 3:12-cr-00158   Document 81   Filed 04/18/13   Page 1 of 7 PageID #: 271
Case 3:12-cr-00158   Document 81   Filed 04/18/13   Page 2 of 7 PageID #: 272
Case 3:12-cr-00158   Document 81   Filed 04/18/13   Page 3 of 7 PageID #: 273
Case 3:12-cr-00158   Document 81   Filed 04/18/13   Page 4 of 7 PageID #: 274
Case 3:12-cr-00158   Document 81   Filed 04/18/13   Page 5 of 7 PageID #: 275
Case 3:12-cr-00158   Document 81   Filed 04/18/13   Page 6 of 7 PageID #: 276
Case 3:12-cr-00158   Document 81   Filed 04/18/13   Page 7 of 7 PageID #: 277
